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                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


                                                              Bankruptcy
 In re
                                                              Case No. 22-33553 (CML)
 Alexander E. Jones,
                                                              Chapter 11
 Debtor,


 David Wheeler, Francine Wheeler, Jacqueline
 Barden, Mark Barden, Nicole Hockley, Ian Hockley,
 Jennifer Hensel, Donna Soto, Carlee Soto Parisi,             Adv. Pro. No.: 22-03037 (CML)
 Carlos M. Soto, Jillian Soto-Marino, William
 Aldenberg, William Sherlach, Robert Parker, and
 Richard M. Coan, as Chapter 7 Trustee for the
 Estate of Erica Lafferty
                 Plaintiffs,
          v.
 Alexander E. Jones and Free Speech Systems, LLC,
                Defendants.


         ORDER GRANTING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         Upon the motion of Plaintiffs David Wheeler, Francine Wheeler, Jacqueline Barden, Mark

Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M.

Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, Robert Parker, and Richard M.

Coan, as chapter 7 trustee for the estate of Erica Lafferty (the “Motion”) for entry of an order: (1)

declaring that Debtor is indebted to Plaintiffs in the amount of the Connecticut Judgment; (2)

declaring that Debtor is indebted to Plaintiffs for attorney’s fees, expenses, interest, other costs, and

charges from the Connecticut Judgment until paid in full; (3) declaring that the Connecticut

Judgment and other obligations, including any and all other claims, debts, and damages owed by

Debtor to Plaintiffs arising from or relating to Connecticut Judgment are non-dischargeable pursuant

to Section 523(a)(6) of the Bankruptcy Code; and (4) granting other and further relief as the Court
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may deem proper; and the Court having found that it has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and the Court having found that the relief requested in the Motion is in the best interests

of the Debtor’s estate, its creditors, and other parties in interest; and appropriate notice having been

provided under the circumstances of the Motion and the opportunity for a hearing on the Motion,

and that no other or further notice is required; and the Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      It is hereby declared that Debtor is indebted to Plaintiffs in the amount of the

Connecticut Judgment.

       3.      It is hereby declared that Debtor is indebted to Plaintiffs for attorney’s fees, expenses,

interest, other costs, and charges from the Connecticut Judgment until paid in full.

       4.      It is hereby declared that the Connecticut Judgment and other obligations, including

any and all other claims, debts, and damages owed by Debtor to Plaintiffs arising from or relating to

Connecticut Judgment are non-dischargeable pursuant to Section 523(a)(6) of the Bankruptcy Code.



Dated: _______________________, 2023




                                       UNITED STATES BANKRUPTCY JUDGE




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